Case 2:24-cv-04744-RGK-AJR    Document 28-12     Filed 07/29/24   Page 1 of 5 Page
                                  ID #:1042

   1 LATHAM & WATKINS LLP
       Marvin S. Putnam (Bar No. 212839)
   2     marvin.putnam@lw.com
   3   Laura R. Washington (Bar No. 266775)
         laura.washington@lw.com
   4 10250 Constellation Blvd., Suite 1100
     Los Angeles, California 90067
   5 Telephone: +1.424.653.5500
   6 Facsimile: +1.424.653.5501
   7 Attorneys for Defendants
     Netflix, Inc., and Netflix Worldwide
   8 Entertainment, LLC
   9
                         UNITED STATES DISTRICT COURT
  10
                        CENTRAL DISTRICT OF CALIFORNIA
  11
  12   FIONA HARVEY,                           Case No. 2:24-cv-04744-RGK-AJR
  13
                     Plaintiff,                [PROPOSED] ORDER GRANTING
  14                                           DEFENDANTS NETFLIX, INC. AND
            v.                                 NETFLIX WORLDWIDE
  15                                           ENTERTAINMENT, LLC’S
       NETFLIX, INC., and NETFLIX              MOTION TO DISMISS
  16   WORLDWIDE ENTERTAINMENT,
       LLC,                                    Date:     September 3, 2024
  17
                                               Time:     9:00 a.m.
                     Defendants.               Place:    Courtroom 850
  18
  19                                           Hon. R. Gary Klausner
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                 Case No. 2:24-cv-04744-RGK-AJR
                                                                [PROPOSED] ORDER GRANTING
                                                             DEFENDANTS’ MOTION TO DISMISS
Case 2:24-cv-04744-RGK-AJR     Document 28-12        Filed 07/29/24   Page 2 of 5 Page
                                   ID #:1043

   1                                   [PROPOSED] ORDER
   2        WHEREAS, defendants Netflix, Inc. and Netflix Worldwide Entertainment,
   3 LLC’s (collectively, “Netflix” or “Defendants”) Motion to Dismiss the Complaint
   4 filed by plaintiff Fiona Harvey (“Harvey”) came on for hearing on August 26,
   5 2024 before the Honorable. R. Gary Klausner in Courtroom 850 of the above-
   6 captioned court;
   7        WHEREAS, having considered the motion and papers submitted in support
   8 thereof, all opposition papers, and all oral argument, and good cause appearing
   9 therefore;
  10        IT IS HEREBY ORDERED THAT:
  11        1.     Netflix’s Motion to Dismiss Harvey’s first cause of action for
  12               defamation per se is GRANTED without leave to amend on the
  13               grounds that (1) Harvey fails to adequately allege that Baby Reindeer
  14               (the “Series”) makes any provably false statement of fact about her;
  15               (2) the alleged defamatory statements constitute legally protected
  16               opinion; (3) Harvey is a libel-proof plaintiff; and (4) Harvey fails to
  17               allege actual malice. See Aguilar v. Universal City Studios, Inc., 174
  18               Cal. App. 3d 384, 391 (1985); Brodeur v. Atlas Enter., Inc., 248 Cal.
  19               App. 4th 665, 680 (2016); Sarver v. Hurt Locker LLC, 2011 WL
  20               11574477, at *8 (C.D. Cal. Oct. 13, 2011); Films of Distinction, Inc.
  21               v. Allegro Film Prods., Inc., 12 F. Supp. 2d 1068, 1081 (C.D. Cal.
  22               1998); Partington v. Bugliosi, 56 F.3d 1147, 1154 (9th Cir. 1995);
  23               Underwager v. Channel 9 Australia, 69 F.3d 361, 367 (9th Cir. 1995);
  24               Wynberg v. Nat’l Enquirer, Inc., 564 F. Supp. 924, 927-28 (C.D. Cal.
  25               1982); De Havilland v. FX Networks, LLC, 21 Cal. App. 5th 845, 856
  26               (2018); Planet Aid, Inc. v. Reveal, 44 F.4th 918, 927 (9th Cir. 2022).
  27        2.     Netflix’s Motion to Dismiss Harvey’s second cause of action for
  28               intentional infliction of emotional distress is GRANTED without
                                                 2
                                                                     Case No. 2:24-cv-04744-RGK-AJR
                                                                    [PROPOSED] ORDER GRANTING
                                                                 DEFENDANTS’ MOTION TO DISMISS
Case 2:24-cv-04744-RGK-AJR   Document 28-12       Filed 07/29/24   Page 3 of 5 Page
                                 ID #:1044

   1             leave to amend on grounds that it is duplicative of Harvey’s
   2             defamation claim, Silva v. Hearst Corp., 1997 WL 33798080, at *3
   3             (C.D. Cal. Aug. 22, 1997), and because she does not adequately allege
   4             that Netflix engaged in outrageous conduct nor that such conduct was
   5             the cause of her supposed emotional distress, see McClintock v. West,
   6             219 Cal. App. 4th 540, 556 (2013), Atteukenian v. Ohio Sec. Ins. Co.,
   7             2023 WL 8939218, at *2 (C.D. Cal. Nov. 17, 2023).
   8        3.   Netflix’s Motion to Dismiss Harvey’s third cause of action for
   9             negligence is GRANTED without leave to amend on grounds that it
  10             is duplicative of Harvey’s defamation claim, Silva v. Hearst Corp.,
  11             1997 WL 33798080, at *3 (C.D. Cal. Aug. 22, 1997), and because she
  12             does not sufficiently allege any element of negligence, see Schering
  13             Corp. v. First Databank Inc., 2007 WL 1068206, at *7 (N.D. Cal.
  14             Apr. 10, 2007); McCollum v. CBS, Inc., 202 Cal. App. 3d 989, 1005-
  15             06 (1988); Epochal Enters., Inc. v. LF Encinitas Props., LLC, 99 Cal.
  16             App. 5th 44, 56 (2024).
  17        4.   Netflix’s Motion to Dismiss Harvey’s fourth cause of action for gross
  18             negligence is GRANTED without leave to amend on grounds that it
  19             is duplicative of Harvey’s defamation claim, Silva v. Hearst Corp.,
  20             1997 WL 33798080, at *3 (C.D. Cal. Aug. 22, 1997), and because she
  21             does not sufficiently allege any element of negligence, see Schering
  22             Corp. v. First Databank Inc., 2007 WL 1068206, at *7 (N.D. Cal.
  23             Apr. 10, 2007); McCollum v. CBS, Inc., 202 Cal. App. 3d 989, 1005-
  24             06 (1988); Epochal Enters., Inc. v. LF Encinitas Props., LLC, 99 Cal.
  25             App. 5th 44, 56 (2024).
  26        5.   Netflix’s Motion to Dismiss Harvey’s fifth cause of action for right of
  27             publicity (common law) is GRANTED without leave to amend on
  28             grounds that it is duplicative of Harvey’s defamation claim, Silva v.
                                              3
                                                                  Case No. 2:24-cv-04744-RGK-AJR
                                                                 [PROPOSED] ORDER GRANTING
                                                              DEFENDANTS’ MOTION TO DISMISS
Case 2:24-cv-04744-RGK-AJR   Document 28-12        Filed 07/29/24   Page 4 of 5 Page
                                 ID #:1045

   1             Hearst Corp., 1997 WL 33798080, at *3 (C.D. Cal. Aug. 22, 1997);
   2             the First Amendment prevents Harvey from maintaining a right of
   3             publicity cause of action premised on an expressive work, see Daly v.
   4             Viacom, Inc., 238 F. Supp. 2d 1118, 1123 (N.D. Cal. 2002); Twentieth
   5             Century Fox Television a division of Twentieth Century Fox Film
   6             Corp. v. Empire Distribution, Inc., 875 F.3d 1192, 1196 (9th Cir.
   7             2017), abrogated on other grounds by Punchbowl, Inc. v. AJ Press,
   8             LLC, 90 F.4th 1022, 1028 (9th Cir. 2024); and Harvey does not
   9             adequately allege (1) knowing use by Netflix of her likeness, or (2) a
  10             direct connection between that alleged use and the commercial
  11             purpose of creating the Series, Downing v. Abercrombie & Fitch, 265
  12             F.3d 994, 1001 (9th Cir. 2001); Polydoros v. Twentieth Century Fox
  13             Film Corp., 67 Cal. App. 4th 318, 325 (1997); Vijay v. Twentieth
  14             Century Fox Film Corp., 2014 WL 5460585, at *4 (C.D. Cal. Oct. 27,
  15             2014).
  16        6.   Netflix’s Motion to Dismiss Harvey’s sixth cause of action for right of
  17             publicity (California Civil Code § 3344) is GRANTED without leave
  18             to amend on grounds that it is duplicative of Harvey’s defamation
  19             claim, Silva v. Hearst Corp., 1997 WL 33798080, at *3 (C.D. Cal.
  20             Aug. 22, 1997); the First Amendment prevents Harvey from
  21             maintaining a right of publicity cause of action premised on an
  22             expressive work, see Daly v. Viacom, Inc., 238 F. Supp. 2d 1118,
  23             1123 (N.D. Cal. 2002); Twentieth Century Fox Television a division
  24             of Twentieth Century Fox Film Corp. v. Empire Distribution, Inc., 875
  25             F.3d 1192, 1196 (9th Cir. 2017) (a “television show itself is clearly an
  26             expressive work”), abrogated on other grounds by Punchbowl, Inc. v.
  27             AJ Press, LLC, 90 F.4th 1022, 1028 (9th Cir. 2024); and Harvey does
  28             not adequately allege (1) knowing use by Netflix of her likeness, or
                                               4
                                                                   Case No. 2:24-cv-04744-RGK-AJR
                                                                  [PROPOSED] ORDER GRANTING
                                                               DEFENDANTS’ MOTION TO DISMISS
Case 2:24-cv-04744-RGK-AJR   Document 28-12         Filed 07/29/24   Page 5 of 5 Page
                                 ID #:1046

   1             (2) a direct connection between that alleged use and the commercial
   2             purpose of creating the Series, Downing v. Abercrombie & Fitch, 265
   3             F.3d 994, 1001 (9th Cir. 2001); Polydoros v. Twentieth Century Fox
   4             Film Corp., 67 Cal. App. 4th 318, 325 (1997); Vijay v. Twentieth
   5             Century Fox Film Corp., 2014 WL 5460585, at *4 (C.D. Cal. Oct. 27,
   6             2014).
   7        7.   Netflix’s Motion to Dismiss Harvey’s claim for punitive damages
   8             with respect to her first, second, fourth, fifth and sixth causes of action
   9             is GRANTED without leave to amend on grounds that Harvey fails to
  10             allege oppression, fraud, or malice with the requisite specificity.
  11             ROF, LLC v. Travelers Prop. Cas. Co. of Am., 2021 WL 3578672, at
  12             *3 (C.D. Cal. Apr. 21, 2021); Rivin v. Patrick K. Willis Co., Inc., 2020
  13             WL 8365251, at *3 (C.D. Cal. Dec. 4, 2020); Keller v. Ling, 2023 WL
  14             9511158, at *2 (C.D. Cal. Aug. 23, 2023).
  15
  16        IT IS SO ORDERED.
  17
  18 Dated: _________________, 2024                        ________________________
                                                            Hon. R. Gary Klausner
  19                                                        United States District Judge
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                5
                                                                    Case No. 2:24-cv-04744-RGK-AJR
                                                                   [PROPOSED] ORDER GRANTING
                                                                DEFENDANTS’ MOTION TO DISMISS
